        Case 1:22-cv-00329-BLW Document 124 Filed 01/24/23 Page 1 of 4




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                       UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,                       Case No. 1:22-cv-00329-BLW

       Plaintiff,                               NOTICE OF AUTOMATIC
                                                SUBSTITUTION OF CERTAIN
v.                                              INTERVENOR-DEFENDANTS

THE STATE OF IDAHO,

       Defendant,

and

MIKE MOYLE, in his official capacity as
Speaker of the House of Representatives
of the State of Idaho; CHUCK WINDER,
in his capacity as President Pro Tempore
of the Idaho State Senate; and the SIXTY-
SEVENTH IDAHO LEGISLATURE,

      Intervenor-Defendants.




                                            1
        Case 1:22-cv-00329-BLW Document 124 Filed 01/24/23 Page 2 of 4




       The Speaker of the Idaho House of Representatives Mike Moyle, Idaho Senate

President Pro Tempore Chuck Winder, and the Sixty-Seventh Idaho Legislature

(collectively “Legislature”), Intervenor-Defendants in this civil action, give notice that,

pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, (i) Speaker of the Idaho

House of Representatives Mike Moyle is automatically substituted into this action in place

of former Speaker of the Idaho House of Representatives Scott Bedke and (ii) the Sixty-

Seventh Idaho Legislature is automatically substituted into this action in place of the now-

adjourned and terminated Sixty-Sixth Idaho Legislature.

       As noted, these automatic substitutions result from Rule 25(d), which provides:

               An action does not abate when a public officer who is a party in an
       official capacity dies, resigns, or otherwise ceases to hold office while the action
       is pending. The officer's successor is automatically substituted as a party. Later
       proceedings should be in the substituted party's name, but any misnomer not
       affecting the parties’ substantial rights must be disregarded. The court may
       order substitution at any time, but the absence of such an order does not affect
       the substitution.

Date: January 24, 2023                     Respectfully submitted,

                                           MORRIS BOWER & HAWS PLLC


                                           By:     /s/ Daniel W. Bower
                                                    Daniel W. Bower


                                            /s/ Monte Neil Stewart
                                           Monte Neil Stewart

                                           Attorneys for Intervenor-Defendant Idaho
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                                               2
          Case 1:22-cv-00329-BLW Document 124 Filed 01/24/23 Page 3 of 4




                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of January, 2023, I electronically filed the foregoing
with the Clerk of the Court via the CM/ECF system, which caused the following parties or counsel
to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

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                                                 3
         Case 1:22-cv-00329-BLW Document 124 Filed 01/24/23 Page 4 of 4




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                                                /s/ Daniel W. Bower
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                                                 4
